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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA


v.                                                    CRIMINAL NO. 5:06cr21DCBJCS


XAVIER CAGE

                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

the Criminal Indictment against XAVIER CAGE without prejudice.

                                                      DUNN LAMPTON
                                                      United States Attorney

                                              By:     s/Sandra G. Moses

                                                      SANDRA G. MOSES
                                                      Assistant U.S. Attorney
                                                      GA Bar No. 283815

       Leave of Court is granted for the filing of the foregoing dismissal.


      ORDERED this        12th day of April, 2007.


                                                       s/ David Bramlette
                                                      UNITED STATES DISTRICT JUDGE
